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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                       )
                                                 )
         Plaintiff,                              )           Criminal No. 09-12-GFVT-5
                                                 )
 v.                                              )
                                                 )
 CHRIS CHRISTMAN,                                )           MEMORANDUM OPINION
                                                 )
         Defendant.                              )


                                       *** *** *** ***

       Defendant Chris Christman plead guilty to manufacturing over five grams of

methamphetamine in violation of 21 U.S.C. § 846 and possession of a listed chemical knowing it

would be used to manufacture methamphetamine in violation of 21 U.S.C. § 841(c)(2). Because

these drug offenses carry maximum penalties of ten years or more in prison and the United States

refused to recommend that no term of imprisonment be imposed, he is subject to mandatory

detention under 18 U.S.C. § 3143(a)(2). Citing the “exceptional reasons” provision of 18 U.S.C.

§ 3145(c), Christman appealed his detention and requested that he be released pending

sentencing. [R. 240.] Because exceptional reasons do not exist in this case, the Court denied

Christman’s Motion for Release Pending Sentencing and stated it would issue a written opinion

explaining its reasons for doing so. This is that opinion.
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                                                   I.

        18 U.S.C. § 3145(c) governs the “Appeal from a release or detention order.” It provides

that “[a] person subject to detention pursuant to section 3143(a)(2) or (b)(2), and who meets the

conditions of release set forth in section 3143(a)(1) or (b)(1), may be ordered released, under

appropriate conditions, by the judicial officer, if it is clearly shown that there are exceptional

reasons why such person’s detention would not be appropriate.”1 18 U.S.C. § 3145(c).

        This is not the Court’s first occasion to construe the language of § 3145(c). In United

States v. Smith, 593 F.Supp.2d 948 (E.D. Ky. 2009), the Court set forth the approach to statutory

construction endorsed by the Sixth Circuit. This approach recognizes that, when construing a

statue, “the authoritative statement is the statutory text, not the legislative history or any other

extrinsic material.” City of Cookeville v. Upper Cumberland Elec. Membership Corp., 484 F.3d

380, 390 n.6 (6th Cir. 2007) (citing Exxon Mobile Corp. v. Allapattah Servs.., Inc., 545 U.S. 546,

568, 125 S.Ct. 2611, 162 L.Ed.2d 502 (2005)). A judge’s first task, therefore, is to “determine

whether the language at issue has a plain and unambiguous meaning with regard to the particular

dispute in the case.” Robinson v. Shell Oil Co., 519 U.S. 337, 340, 117 S.Ct. 843, 136 L.Ed.2d

808 (1997); Brilliance Audio, Inc. v. Haigts Cross Comm., Inc., 474 F.3d 365, 371 (6th Cir.

2007). Whether the language is plain or ambiguous depends not only on the language itself but

also on the “specific context in which the language is used, and the broader context of the statute

as a whole.” Robinson, 519 U.S. at 341, 117 S.Ct. 843; see also United States v. Meyers, 952



        1
         The language of § 3145(c) makes clear that there are two situations when a defendant
may appeal the decision detaining him for exceptional reasons. First, by reference to § 3143(a), a
defendant convicted of a mandatory detention offense may try to obtain his release while
awaiting sentencing. This is Christman’s situation. Second, by reference to § 3143(b),
exceptional reasons analysis may apply where the defendant has been convicted and sentenced
but has filed an appeal. This situation is not before the Court.
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F.2d 914, 918 (6th Cir. 1992), cert. denied, 503 U.S. 994, 112 S.Ct. 1695, 118 L.Ed.2d 407

(1992).

          Applied in the context presented in Smith, the Court found that § 3145(c) did not

empower district courts to entertain requests to release individuals who are subject to mandatory

detention because of exceptional reasons. Smith, 593 F.Supp.2d at 957. Instead, the Court

concluded that only the courts of appeals were granted this authority. Id. In cursory fashion, the

Sixth Circuit has rejected this interpretation of § 3145(c) and concluded that district courts are

authorized to perform exceptional reasons analysis.2 United States v. Christman, 596 F.3d 870

(6th Cir. 2010). Consequently, the task now before the Court is to apply the same principles of

statutory analysis to the provision that allows a detainee to be released until sentencing because

of exceptional reasons.

          Even with the aid of the statutory construction principles just mentioned, we cannot know

with any precision what constitutes an exceptional reason that would justify releasing until

sentencing a person subject to mandatory detention. Nowhere in the statute is “exceptional

reasons” defined. What is clear from the context of the plain language, however, is that the relief

under § 3145(c) is a limited exception to the general requirement of mandatory detention for

persons convicted of offenses referenced in § 3143(a)(2).3 For instance, before the Court may


          2
          As a practical matter, because of the Sixth Circuit’s decision in Christman, an
exceptional reasons appeal will follow a somewhat unusual three-step process. First, the district
court will determine whether an exception to mandatory detention under § 3143(a)(2) applies in
the defendant’s case. If not, then the defendant will “appeal” that decision to the district judge
who just denied his release. See 18 U.S.C. § 3145(c) (“Appeal from a release or detention
order.”) The district judge will then evaluate whether the conditions under § 3145(c) are
satisfied to justify release.
          3
          Section 3143(a)(2) requires mandatory detention of persons found guilty of the offenses
set forth in subparagraphs (A), (B) and (C) of 18 U.S.C. § 3142(f)(1). Generally speaking, those
subparagraphs describe offenses for which the maximum sentence is life in prison or death, and
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begin the exceptional reasons analysis, the defendant must “meet[] the conditions of release set

forth in section 3143(a)(1).” 18 U.S.C. § 3145(c). A detainee satisfies the conditions of

§ 3143(a)(1) only if he can demonstrate “by clear and convincing evidence that he is not likely to

flee or pose a danger to the safety of any other person or the community if released.” 18 U.S.C.

§ 3143(a)(1).

       Moreover, even when there is solid assurance that the defendant will return for sentencing

and will do no harm during the interim, § 3145(c) will provide infrequent relief. Through

§ 3143(a)(2), Congress has expressed a strong policy of requiring individuals found guilty of the

enumerated offenses to be removed from society until the court imposes sentence. Since

§ 3145(c) is an exception to mandatory detention, care must be taken to ensure that it does not

swallow the general rule. Although exceptional reasons analysis requires a fact-intensive, case-

by-case evaluation, United States v. Miller, 568 F.Supp.2d 764, 774 (E.D. Ky. 2008), the

ordinary meaning of “exceptional” suggests that only reasons that are “out of the ordinary,”

uncommon,” or “rare” would qualify. Id. (citing United States v. DiSomma, 951 F.2d 494, 497

(2d Cir. 1991) (defining “exceptional reasons” as “a unique combination of circumstances giving

rise to situations that are out of the ordinary”). In addition, even exceptional reasons would not

justify release if they are based on nothing more than probability, conjecture, intuition or

speculation. Instead, according to the statute’s explicit language, exceptional reasons must be



sex, terrorism-related or drug offenses for which a maximum term of imprisonment of ten years
or more. See 18 U.S.C. §§ 3142(f)(1)(A), (B), and (C). Even under § 3143(a)(2), the court may
order the release of an individual found guilty of one of these offenses if there is clear and
convincing evidence that the individual is not likely to flee or pose a danger to the safety of any
other person or the community if released and either there is a substantial likelihood that a
motion for acquittal or new trial will be granted or the attorney for the government has
recommended no sentence of imprisonment be imposed. 18 U.S.C. § 3143(a)(2) (emphasis
added).
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“clearly shown” to render a person’s detention as inappropriate. 18 U.S.C. § 3145(c).

        It is also apparent from the structure of § 3145(c) and its relationship to § 3143 that, at a

minimum, exceptional reasons entail a showing that detaining the defendant through sentencing

works a particular injustice. This is so because the district court can entertain an appeal premised

on exceptional reasons only after it has declined to release a defendant under one of the

exceptions to mandatory detention specified in § 3143(a)(2). These exceptions apply only when

the guilty defendant shows by clear and convincing evidence that he is not a flight or danger risk

and there is either a substantial likelihood of success on a motion for acquittal or new trial or

where counsel for the government recommends no sentence of imprisonment. 18 U.S.C. §§

3143(a)(2)(i), (ii).

        Likewise, concern for defendants over-serving their sentence also motivates the exception

to mandatory detention during an appeal under § 3143(b)(1). Under this exception, a defendant

can obtain release during pendency of his appeal if he satisfies the flight and danger condition

and can demonstrate that the appeal is not for the purpose of delay and raises a substantial

question of law or fact likely to result in reversal, an order for a new trial, a sentence that does

not include a term of imprisonment or a reduced term of imprisonment less than the total of time

already served plus the expected duration of the appeal. 18 U.S.C. § 3143(b)(1).

        As these exceptions make clear, both pre-sentencing and post-appeal, the policy at work

here, at least in part, is to require detention of individuals found guilty of serious offenses unless

doing so would result in the defendant spending more time in custody than he otherwise might

because of meritorious legal challenges or an unusually lenient sentence recommendation by the
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government.4 Or, put another way, Congress has recognized through these exceptions that taking

the liberty of an individual is a grave consequence of state power and that judges must be careful

to ensure that a defendant does not spend one day in prison more than justice requires under the

law.5 When a court determines that the risk of an over-served sentence is not present and then

appeal under § 3145(c) is made, however, equal care must be taken to ensure that relief on

account of exceptional reasons does not emasculate § 3143(a)(2). Bennett v. Spear, 520 U.S. 154,

173, 117 S.Ct. 1154, 137 L.Ed.2d 281 (1997) (stating the cardinal principal of statutory

construction is to give effect to every clause and word of a statute rather than to emasculate an

entire section). It would be highly anomalous indeed if Congress, having crafted narrow and

specific exceptions to mandatory detention under § 3143(a)(2), permitted release under more

generous conditions under the guise of “exceptional circumstances.” On the contrary, to avoid

undermining the mandatory detention provision, the Court believes that its exceptional reasons

review is limited to determining whether remanding the defendant to custody until sentencing

would be tantamount to subjecting the individual to unjust detention.6




       4
         One reason why a recommendation of no term of imprisonment might be considered
unusual is because, as already mentioned, mandatory detention is imposed for the most serious
convictions, including drug and other offenses carrying a maximum term of imprisonment of ten
years or more.
       5
          Interestingly, no exceptions to mandatory detention during appeal are provided for a
defendant found guilty of an offense specified in subparagraph (A), (B), or (C) of 18 U.S.C.
§ 3142(f)(1) and sentenced to a term of imprisonment. See 18 U.S.C. § 3143(b)(2).
Nevertheless, even this defendant may, pursuant to Christman, immediately appeal his detention
to the district court that just sentenced him because of exceptional circumstances.
       6
       For a thorough discussion of 18 U.S.C. § 3145(c) and its interplay with§ 3143(a)(2) (the
“Mandatory Detention Act”), see Judge Amul R. Thapar & Mani S. Walia, Putting the
"Mandatory" Back in the Mandatory Detention Act, 85 ST . JOHN 'S L. REV . (forthcoming Winter
2011) (manuscript on file with authors).
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                                                 II.

       With all of this in mind, the Court now turns to Christman’s circumstances and his claim

to relief under § 3145(c). He presents essentially four reasons why detaining him until his

sentencing date would be unduly harsh. First, he reports that detention would result in

substantial hardship on his family, and on his seventeen-month-old child in particular since he

has assumed responsibility for the child’s care and support. Second, since Christman is a student

and is enrolled in summer courses, detention would seriously disrupt his pursuit of a college

degree.7 Third, Christman believes that exceptional reasons exist because he has fully cooperated

with the government. Fourth, citing all of the foregoing, Christman argues he should be released

because he is “exceptionally” unlikely to flee, which he believes should be considered as a factor

in the Court’s exceptional reasons analysis.

       In their own way, each of Christman’s arguments sounds a similar theme, namely that he

has demonstrated a sincere commitment to turning his life around. The Court is sympathetic to

his situation and commends him for the steps he has taken. However, taken either individually or

collectively, they cannot be considered exceptional within the meaning of the § 3145(c). Rather,

personal and familial hardship and disruption to an individual’s educational or professional

affairs are the natural, if unfortunate, consequences of finding oneself at the mercy of the

criminal justice system. It is therefore no surprise that most courts have rejected these hardships

as providing an exceptional reason. See United States v. Koon, 6 F.3d, 561 563 (9th Cir. 1993)

(Rymer, J., concurring); United States v. Larue 478 F.3d 924, 925-26 (8th Cir. 2007) (ongoing

employment not exceptional); United States v. Lea, 360 F.3d 401, 403-04 (2d Cir. 2004) (nothing



       7
        Christman has submitted his academic transcripts, which indicate he has received high
marks in his course work, as evidence of his commitment to his education.
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exceptional about going to school, being employed, or being a first-time offender, either

individually or in combination); United States v. Burnett, 76 F.Supp.2d 846, 849 (E.D. Tenn.

1999) (caring for family members in poor health); United States v. Rodriguez, 50 F.Supp.2d 717,

722 (N.D. Ohio 1999) (severe financial hardship to family not exceptional); United States v.

Mahabir, 858 F.Supp. 504, 508 (D. Md. 1994) (purely personal considerations not exceptional).

The Sixth Circuit reached the same conclusion in an unpublished opinion. See United States v.

Cook, 42 Fed.Appx 803 at *2 (6th Cir. 2002) (holding the district court did not err when declining

to release defendant under § 3145(c) for hardship to family or business associates.) Moreover,

recognizing personal, educational, familial or financial hardships as exceptional reasons would

allow the exception of release to swallow the rule of mandatory detention. Christman is

therefore not entitled to release under § 3145(c) on these grounds.

       Nor does the Court think that cooperation with the government typically rises to the level

of an exceptional reason. Although not every defendant chooses to assist the government in

criminal investigations, such occurrences are by no means rare or out of the ordinary. The Sixth

Circuit in Cook seems to agree. See Cook, 42 Fed.Appx 803 at *2 (holding exceptional reasons

not presented by cooperating with the government). Although Cook is an unpublished opinion

and thus not binding precedent, the Court believes its conclusion, as a general proposition, is

unassailable. Nevertheless, the Court cannot say at this point that cooperation will never furnish

exceptional reasons. It is easy enough to imagine truly extraordinary scenarios where, due to the

kind of cooperation offered, it would be physically impossible for the defendant to render such

assistance while in custody. But the Court hastens to add that most defendants, Christman

included, do not provide assistance of such an extreme nature. The Court therefore cannot grant

a release because of his cooperation.
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       Finally, the Court rejects the proposition that exceptional reasons are demonstrated when

a defendant is especially unlikely to flee or pose a danger if released.8 A cardinal rule of

statutory construction is that every statutory provision is presumed to have meaning and courts

must avoid an interpretation that would render a provision superfluous. In re Arnett, 731 F.2d

358, 361 (6th Cir. 1984) (citing Jarecki v. Searle & Co., 367 U.S. 303, 307-08, 81 S.Ct. 1579,

1582-83, 6 L.Ed.2d 859 (1961). In the context of § 3145(c), before the Court can proceed to the

exceptional reasons analysis, clear and convincing evidence must support a finding that the

defendant is not likely to flee or pose a danger if released. See 18 U.S.C. §§ 3143(a)(1), 3145(c).

The Court does not see how this is any different, in any meaningful way, from a defendant who

can show he is really, really unlikely to flee or pose a danger. Instead, granting a release for this

reason would reduce the § 3143(a)(1) precondition to meaninglessness. Since the Court is

precluded from giving the statute this interpretation, exceptional reasons are not present when a

defendant is unlikely to flee or pose a danger, no matter how compelling the evidence.9 The

Court therefore cannot release Christman based on this argument.




       8
          This was one of several exceptional reasons factors recognized by the Ninth Circuit in
United State v. Garcia, 340 F.3d 1013, 1021 (9th Cir. 2003). Christman presses this Court to
adopt those factors in its exceptional reasons analysis and suggests that the Sixth Circuit
bestowed its blessing to do so in United States v. Christman, 596 F.3d 870 (6th Cir. 2010), by
citing Garcia. His argument, however, overstates the Sixth Circuit’s reliance on Garcia. The
only portion of Garcia cited in Christman was the footnote wherein the Ninth Circuit concluded
that district courts are authorized to release a defendant for exceptional reasons pursuant to §
3145(c). See Christman, 596 F.3d at 871 (citing Garcia, 340 F.3d at 1014 n.1). Nowhere in its
opinion did the Sixth Circuit express approval for Garcia’s exceptional reasons factors.
       9
         In retort, clever defense counsel might ask whether a defendant in a coma might not
present compelling evidence that exceeds the exceptional reasons bar. This circumstance,
however, presents not just an unlikelihood of fleeing, but an impossibility, a different reason
altogether.
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                                              III.

       In conclusion, Christman has not presented exceptional reasons demonstrating why his

continued detention until sentencing would be inappropriate.

       This the 19th day of May, 2010.
